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Robison, Belaustegui,
Sharp & Low

71 Washington St.
Reno, NV 89503
(775) 329-3151

 

 

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STEFANIE T. SHARP, ESQ.

Nevada Bar No. 8661

ROBISON, BELAUSTEGUI, SHARP & LOW
71 Washington Street

Reno, Nevada 89503

Tel: 775-329-3151

Fax: 775-329-7941

E-mail: ssharp@rbsllaw.com

Attorneys for William McGrane

Page 1 of 8

UNITED STATES BANKRUPTCY COURT

DISTRICT OF NEVADA
IN RE: Case No. BK-N-14-50333-btb
Chapter 11
ANTHONY THOMAS and
WENDI THOMAS, DECLARATION OF STEFANIE T.

 

Debtors.

 

 

SHARP IN SUPPORT OF NOTICE
OF REFUSAL OF AMERICAN
ARBITRATION ASSOCIATION TO
COMPLY WITH COURT ORDER
AND EX PARTE REQUEST FOR
COURT TO ISSUE ORDER TO THE
AMERICAN ARBITRATION
ASSOCIATION TO APPEAR AND
SHOW CAUSE FOR ITS FAILURE
TO COMPLY WITH AN ORDER OF
THIS COURT

Hearing Date: N/A — Ex Parte
Time: N/A — Ex Parte
Set By: N/A — Ex Parte

I, STEFANIE T. SHARP, of Robison, Belaustegui, Sharp & Low, under penalty

of perjury states that the following assertions are true and correct:

1. I am a duly licensed and practicing attorney in the State of Nevada, a shareholder

of the law firm of Robison, Belaustegui, Sharp & Low and represent the interests of William

McGrane herein. This Declaration is submitted in support of Notice of Refusal Of American

Arbitration Association To Comply With Court Order And Ex Parte Request For Court To Issue

Order To The American Arbitration Association To Appear And Show Cause For Its Failure To

Comply With An Order Of This Court filed herewith.

 
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2. On May 30, 2014, I was notified via email communications between my client,
William McGrane, and the American Arbitration Association (“AAA”) that it was refusing to
proceed with the arbitration in the California State Court Action (as defined in this Court’s
Order, Dkt. 45) contending that the automatic stay prevented it from doing so. Therefore,
pursuant to Mr. McGrane’s request, I provided AAA with the following pleadings associated
with the above entitled bankruptcy proceeding:

a. The Stipulation for Comfort Order, Dkt. 43, confirming the inapplicability
of the automatic stay to the California State Court Action executed by our office as
counsel for Mr. McGrane and Ms. Estes as counsel for the Debtors in the above entitled
action;

b. This Court’s Order, Dkt. 45, (the ““Order’’) confirming the inapplicability
of the stay the the California State Court Action; and

c. The Notice of Entry of the Order, Dkt. 46.

A true and correct copy of my email of May 30, 2014 to Sandra Marshall at AAA is
attached hereto as Exhibit A.

3. On June 9, 2014, I received an email communication from Jeffrey Garcia at AAA
confirming AAA’s position that it was refusing to honor and comply with the Order. A true and
correct copy of the email I received from Mr. Garcia on June 9, 2014 is attached hereto as
Exhibit B.

DATED this 20 day of June, 2014.

By: /s/ Stefanie T. Sharp
Stefanie T. Sharp, Esq.
Counsel for William McGrane

 
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Exhibit A
May 30, 2014 Email To Sandra Marshall At AAA

 
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Claudia Zaehringer

From: Stefanie Sharp

Sent: Friday, May 30, 2014 10:56 AM

To: ‘AAA Sandra Marshall’

Ce: ‘Anthony Thomas’; ‘William McGrane’

Subject: RE: William McGrane V. Anthony Thomas - Case 01-14-0000-2456

Attachments: 43-McGrane.Debtors Stip for Comfort Order.pdf; 45- Order Approving Stip Comfort

Order [McGrane].pdf; 46-Notice of Entry of Order.pdf

Follow Up Flag: Follow up
Flag Status: Flagged

Ms. Marshall: The stay does not apply to this matter and the U.S. Bankruptcy Court has issued its order
confirming this to be the case. Attached for your file are:

1. The Stipulation for Comfort Order confirming the inapplicability of the automatic stay executed by our
office as counsel for Mr. McGrane and Ms. Estes as counsel for Mr. Thomas; and

2. The associated Comfort Order confirming the inapplicability of the stay along with the Notice of Entry
of Order.

There is no stay in effect with respect to this matter. Please have your in house counsel contact me if there are
further questions in this regard.

Best regards. Stefanie Sharp

Stefanie T. Sharp

Robison, Belaustegui, Sharp & Low
71 Washington Street

Reno, NV 89503

Tel: (775) 329-3151

Fax: (775) 329-7941

-- CONFIDENTIALITY -- This email (including attachments) is intended solely for the use of the individual to whom it is addressed
and may contain information that is privileged, confidential, or otherwise exempt from disclosure under applicable law. If you are not
the intended recipient, please do not read, copy, or re-transmit this communication. If you are the intended recipient, this
communication may only be copied or transmitted with the consent of the sender. If you have received this email in error, please
contact the sender immediately by return email and delete the original message and any attachments from your system. Thank you in
advance for your cooperation and assistance.

-- IRS CIRCULAR 230 DISCLAIMER: Any tax advice contained in this e-mail is not intended to be used, and cannot be used by any
taxpayer, for the purpose of avoiding Federal tax penalties that may be imposed on the taxpayer. Further, to the extent any tax advice
contained in this e-mail may have been written to support the promotion or marketing of the transactions or matters discussed in this e-
mail, every taxpayer should seek advice based on such taxpayer's particular circumstances from an independent tax advisor.
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Exhibit B
Email Received From Mr. Garcia On June 9, 2014

 
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Claudia Zaehringer

From: AAA Jeffrey Garcia <JeffreyGarcia@adr.org>

Sent: Monday, June 09, 2014 1:23 PM

To: Anthony Thomas; william.mcgrane@mcgranellp.com, Stefanie Sharp
Ce: AAA Jeffrey Garcia; AAA Sandra Marshall

Subject: RE: William McGrane V. Anthony Thomas - Case 01-14-0000-2456
Follow Up Flag: Follow up

Flag Status: Flagged

Case Number: 01-14-0000-2456

William McGrane
-VS-
Anthony Thomas

Dear Parties,
Again, thank you for your patience while we reviewed the parties’ positions.

Based on the correspondence and court documents submitted to date, the AAA does not believe the Comfort Order
provides AAA the authority to administer this arbitration as filed. The AAA will continue to hold this matter in abeyance
and will follow any court order regarding claims against the debtor to be administered in the above captioned
arbitration.

Thank you in advance for your consideration.
Sincerely,

Jeffrey Garcia

@® AAA Jeffrey Garcia

Vice President

American Arbitration Association
6795 N. Palm Ave. 2nd Floor
Fresno, CA 93704

T:559 490 1860

F:855 433 3046

E: JeffreyGarcia@adr.org

The information in this transmittal (including attachments, if any) is privileged and/or confidential and is intended only for the recipient(s) listed above. Any
review, use, disclosure, distribution or copying of this transmittal is prohibited except by or on behalf of the intended recipient. If you have received this transmittal
in error, please notify me immediately by reply email and destroy all copies of the transmittal. Thank you.

From: AAA Jeffrey Garcia
Sent: Friday, June 06, 2014 6:49 PM
To: Anthony Thomas; william.mcgrane@mcgranellp.com; ssharp@rbsliaw.com
Cc: AAA Jeffrey Garcia
Subject: William McGrane V. Anthony Thomas - Case 01-14-0000-2456
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CERTIFICATE OF SERVICE

I served a true and correct copy of the within DECLARATION OF STEFANIE T.
SHARP IN SUPPORT OF NOTICE OF REFUSAL OF AMERICAN ARBITRATION
ASSOCIATION TO COMPLY WITH COURT ORDER AND EX PARTE REQUEST
FOR COURT TO ISSUE ORDER TO THE AMERICAN ARBITRATION
ASSOCIATION TO APPEAR AND SHOW CAUSE FOR ITS FAILURE TO COMPLY
WITH AN ORDER OF THIS COURT. on June A© , 2014, by the following means to the

persons as listed below:

X__ Electronically pursuant to the Court’s ECF System to:

KEVIN A. DARBY on behalf of Creditor FM HOLDINGS
kevin@darbylawpractice.com, alecia(@darbylawpractice.com;
sarah@darbylawpractice.com; itati@darbylawpractice.com;
tricia@darbylawpractice.com

KEVIN A. DARBY on behalf of Creditor MARKET LINK INC.
kevin(@darbylawpractice.com, alecia@darbylawpractice.com;
sarah@darbylawpractice.com; itati@darbylawpractice.com;
tricia@darbylawpractice.com

KEVIN A. DARBY on behalf of Creditor JERRY FERRARA
kevin@darbylawpractice.com, alecia(@darbylawpractice.com:_
sarah@darbylawpractice.com: itati@darbylawpractice.com;
tricia@darbylawpractice.com

KEVIN A. DARBY on behalf of Creditor TODD ARMSTRONG
kevin@darbylawpractice.com, alecia@darbylawpractice.com:_
sarah@darbylawpractice.com; itati@darbylawpractice.com;
tricia@darbylawpractice.com

KEVIN A. DARBY on behalf of Interested Party KIT MORRISON
kevin@darbylawpractice.com, alecia(@darbylawpractice.com;_
sarah@darbylawpractice.com: itati@darbylawpractice.com;
tricia@darbylawpractice.com

 
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1 TIMOTHY A LUKAS on behalf of Creditor BEACH LIVING TRUST JOHN BEACH,
> AS TRUSTEE
ecflukast(@hollandhart.com ,
3
WAYNE A. SILVER on behalf of Creditor KENMARK VENTURES, LLC
4 . .
w silver@sbcglobal.net, ws(@waynesilverlaw.com
5
6 WAYNE A. SILVER on behalf of Plaintiff KENMARK VENTURES, LLC
w silver@sbcglobal.net, ws(@waynesilverlaw.com
7
g ALAN R SMITH on behalf of Debtor AT EMERALD, LLC
mail@asmithlaw.com
9
10 ALAN R SMITH on behalf of Debtor ANTHONY THOMAS
mail@asmithlaw.com
11
2 ALAN R SMITH on behalf of Jnt Admin Debtor AT EMERALD, LLC
mail@asmithlaw.com
13
14 ALAN R SMITH on behalf of Joint Debtor WENDI THOMAS
mail@asmithlaw.com
15
16 AMY N. TIRRE on behalf of Creditor KENMARK VENTURES, LLC
amy(@amytirrelaw.com, admin@amytirrelaw.com
17
18 AMY N. TIRRE on behalf of Plaintiff KENMARK VENTURES, LLC
amy(@amytirrelaw.com, admin@amytirrelaw.com
19
20 U.S. TRUSTEE - RN - 11
1 USTPRegion17.RE.ECF@usdoj.gov
oy) _X___ United States Mail, postage prepared to:
73 American Arbitration Association
6795 N. Palm Ave. 2nd Floor
24 Fresno, California 93704
45 Attn: Jeffrey Garcia, Vice President
% _X By Email to:
Jeffrey Garcia, Vice President - JeffreyGarcia@adr.or
27 .
DATED: June Ho , 2014.
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Robison, Belaustegui,
Sharp & Low
71 Washington St.
Reno, NV 89503
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